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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

   UNITED STATES OF AMERICA and
   BARBARA BERNIER,

           Plaintiffs,

   v.                                                              Case No: 6:16-cv-970-Orl-37TBS

   INFILAW CORPORATION and
   CHARLOTTE SCHOOL OF LAW, LLC,

           Defendants.


                                                   ORDER

           This case comes before the Court on Defendants InfilLaw Corporation and

   Charlotte School of Law, LLC’s Unopposed Motion for David Mills to Appear Pro Hac Vice

   for Defendants (Doc. 30). The Court has reviewed the motion and finds that Mr. Mills

   meets the requirements of M.D. FLA. R. 2.02(a). Accordingly, the motion is GRANTED

   and Mr. Mills is admitted to appear pro hac vice on behalf of Defendants. Mr. Mills is

   affiliated with Cooley LLP, 1299 Pennsylvania Avenue, NW, Suite 2865, Washington, DC

   20004.

           The Middle District of Florida utilizes a case management electronic filing system

   (“CM/ECF”). Within ten days of the date of this Order, Mr. Mills shall register to participate

   and docket in CM/ECF or show cause in writing within that time frame why he is unable to

   participate. 1




           Counsel shall visit the Court’s website located at www.flmd.uscourts.gov and click on the
           1

   “CM/ECF” tab for more information. The Court has an expectation that counsel will participate in the
   CM/ECF training tutorials provided on the website prior to using the system.
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          Any attorney appearing in this Court pursuant to M.D. FLA. R. 2.02(a) “shall be

   deemed to be familiar with, and shall be governed by, these [local] rules in general,

   including Rule 2.04 hereof in particular; and shall also be deemed to be familiar with and

   governed by the Code of Professional Responsibility and other ethical limitations or

   requirements then governing the professional behavior of members of The Florida Bar.”

   M.D. FLA. R. 2.02(c).

          Attorney Vincent A. Citro, a member of the bar of this Court with offices at 17 East

   Pine Street, Orlando, Florida 32801 has consented to the designation of local counsel. He

   shall accept service of all notices and papers on behalf of Defendants and is responsible

   for the progress of the case, including the trial, in default of the non-resident attorneys.

          DONE and ORDERED in Orlando, Florida on September 20, 2017.




   Copies furnished to Counsel of Record




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